        Case 5:17-cv-05042-JLV Document 141 Filed 03/20/19 Page 1 of 5 PageID #: 1768


Gregory Buzzard

From:                              holli lundahl <hollilundahl@gmail.com>
Sent:                              Tuesday, March 19, 2019 7:56 PM
To:                                Gregory Buzzard
Subject:                           Re: Telford v. Bradeen et al. 17-5042


Absolutely I disagree, with any evidentiary hearing being conducted. I will not participate in any evidentiary hearing as
indicated in my motion to recall the remand order that I filed before the 8th circuit court on February 26,
2019. Evidentiary hearings are kangaroo courts. Especially before judges like Judge Viken who thinks nothing about
engaging in multiple acts of misprision of felonies committed on a regular basis by attorneys appearing before his bar. I
expect full blown criminal procedures with a jury trial to be employed like I demanded in my motion to recall the
mandate in the appeal. I also expect that during the criminal prosecution, defense counsel and their clients be indicted
for more than 14 acts of wire fraud committed during the prosecution of the underlying case. I WILL NOT PARTICIPATE
IN ANY KANGAROO COURT PROCEEDING ESPECIALLY BEFORE JUDGE VIKEN WHO IN MY OPINION BELONGS IN JAIL


On Tue, Mar 19, 2019 at 3:41 PM Gregory Buzzard <Greg Buzzard(5)sdd.uscourts.gov> wrote:

 Good afternoon all.




 One of the clerks informed me Ms. Telford has communicated with her over email at the address
 hollilundahl(jg>gmail.com. I've copied this address here to ensure Ms. Telford receives these emails.




 Ms. Telford, please let us know if you disagree with the consensus that the court should schedule an evidentiary
 hearing for at least two hours.




 Gregory T. Buzzard

 Term Law Clerk


 Chief Judge Jeffrey L. Viken

 United States District Court


 District of South Dakota


 515 9th Street, Room 318

 Rapid City, SD 57701




 Office: 605-399-6054
           Case 5:17-cv-05042-JLV Document 141 Filed 03/20/19 Page 2 of 5 PageID #: 1769
 Cell: 660-624-2521




 greg buzzard@sdd.uscourts.gov




 From: Greg Bernard <gbernard(5)tb3law.com>
 Sent: Monday, March 18, 2019 3:11 PM
 To: Gregory H. Wheeler <ghwheeler@bovcelaw.com>: Michael L. Luce <MLuce(S)lvnniacl<son.com>: Greg Eriandson
 <gerlandson(S)bangsmccullen.com>
 Cc: Gregory Buzzard <Greg Buzzard(S)sdd.uscourts.gov>: hollietelford.l(5)gmail.com: Mitchell W.O'Hara
 <mwohara(Sibovcelaw.com>: Sheila Belden <Sheila Belden(5)sdd.uscourts.gov>: Kenneth Dewell
 <Ken Dewell@sdd.uscourts.gov>
 Subject: RE: Telford v. Bradeen et al. 17-5042




 Probably two hours will do, but that may depend in if and how many witnesses get called,




 gjb




 Gregory J. Bernard

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       Case 5:17-cv-05042-JLV Document 141 Filed 03/20/19 Page 3 of 5 PageID #: 1770

From: Gregory H. Wheeler <ghwheeier@bovcelaw.com>
Sent: Monday, March 18, 2019 1:40 PM
To: Michael L Luce <MLuce@lvnniacl<son.com>: Greg Eriandson <gerlandson@bangsmccullen.com>
Co: Gregory Buzzard <Greg Buzzard(5)sdd.uscourts.gov>; hollietelford.l(S)gmail.com: Greg Bernard
<gbernard(5)tb31aw.com>: Mitchell W. O'Hara <mwohara@bovcelaw.com>: Sheila Belden
<Sheila Belden@sdd.uscourts.gov>: Kenneth Dewell <Ken Dewell@sdd.uscourts.gov>
Subject: RE: Telford v. Bradeen et al. 17-5042




So do I. Thanks.




Greg

Gregory H. Wheeler


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From: Michael L. Luce <MLuce(aivnniackson.com>
Sent: Monday, March 18, 2019 2:35 PM
To: Greg Eriandson <gerlandson@bangsmccullen.com>
Cc: Gregory Buzzard <Greg Buzzard(S)sdd.uscourts.gov>; hollietelford.l(5)gmail.com: gbernard(aitb3law.com; Gregory
H. Wheeler <ghwheeler(i5)bovcelaw.com>: Mitchell W.O'Hara <mwohara(5)bovcelaw.com>: Sheila Belden
<Sheila Belden@sdd.uscourts.gov>: Kenneth Dewell <Ken Dewell(5)sdd.uscourts.gov>
Subject: Re: Telford v. Bradeen et al. 17-5042




I would concur with Greg's estimate.
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Sent from my iPhone



On Mar 18, 2019, at 1:52 PM,Greg Eriandson <gerlandson(5)bangsmccullen.com> wrote:

       Greg,




       I would think no more than an hour or, at most, two.




       Greg




       From: Gregory Buzzard <Greg Buzzard(asdd.uscourts.gov>
       Sent: Monday, March 18, 2019 10:36 AM
       To: holiietelford.l@gmail.com; gbernard@tb3law.com: Greg Eriandson
       <gerlandson@bangsmccullen.com>: ghwheeler@bovcelaw.com; mwohara@boycelaw.com, Michael L.
       Luce <MLuce@lvnniackson.com>
       Cc: Sheila Belden <Sheila Belden@sdd.uscourts.gov>; Kenneth Dewell
       <Ken Dewell@sdd.uscourts.gov>
       Subject: Telford v. Bradeen et al. 17-5042



        Good morning all.




        As you know,the Eighth Circuit remanded this case for Judge Viken to conduct an evidentiary hearing
        to determine the date Ms.Telford's notice of appeal was filed. Docket 140. Please let me know your
        estimates of how long the court should set aside for the hearing. Once we have an idea of how long
        the hearing will take, I will be back in touch with you with possible hearing dates.


        Thanks for your professional attention to this matter.



        Gregory T. Buzzard

        Term Law Clerk


        Chief Judge Jeffrey L. Viken

        United States District Court
Case 5:17-cv-05042-JLV Document 141 Filed 03/20/19 Page 5 of 5 PageID #: 1772
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